      Case 1:18-cv-01047-PGG-RWL Document 159 Filed 03/20/24 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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EIG ENERGY FUND XIV, L.P., EIG ENERGY
FUND XIV-A, L.P., EIG ENERGY FUND XIV-B,
L.P., EIG ENERGY FUND XIV (CAYMAN), L.P.,
EIG ENERGY FUND XV, L.P., EIG ENERGY
FUND XV-A, L.P., EIG ENERGY FUND XV-B, L.P.,
and EIG ENERGY FUND XV (CAYMAN), L.P.

                                   Plaintiffs,
                 -against-                                                 18 CIVIL 1047 (PGG)

                                                                             JUDGMENT
KEPPEL OFFSHORE & MARINE LTD.,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion & Order dated March 20, 2024, Keppel's motion for

summary judgment is granted, and EIG's motion for summary judgment is denied. Judgment is

entered for Defendant; accordingly, the case is closed.

Dated: New York, New York

          March 20, 2024


                                                                         RUBY J. KRAJICK
                                                                     _________________________
                                                                           Clerk of Court
                                                               BY:
                                                                     _________________________
                                                                            Deputy Clerk
